                      IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                 AT KNOXVILLE

LEATHA WILLIAMS, as guardian of             )
a minor, LAUREN WILLIAMS and                )
ALICIA WILLIAMS,                            )
                                            )
       Plaintiff,                           )
                                            )        No. 3:05-cv-141
v.                                          )        Jarvis/Shirley
                                            )
CAMPBELL COUNTY, TENNESSEE,                 )
ET AL.                                      )
                                            )
       Defendants.                          )

     NOTICE OF FILING ORIGINAL AFFIDAVITS IN SUPPORT OF DEFENDANTS’
                     MOTION FOR SUMMARY JUDGMENT

       Come Defendants and give notice of the filing of the original affidavits of Ron

McClellan, Charles Scott, David Webber, Samuel Franklin, Nora Robbins, and Tony Ayers in

support of the Memorandum in Support of Defendants’ Motion for Summary Judgment.

       Respectfully submitted the 11th day of December, 2006.

                                                     CAMPBELL COUNTY, TENNESSEE,
                                                     RON MCCLELLAN, JERRY E. CROSS,
                                                     CHARLES SCOTT, DAVID WEBBER,
                                                     SAMUEL FRANKLIN, NORA
                                                     ROBBINS, TONY AYERS

                                            BY:      /s/John C. Duffy, BPR#010424
                                                     P.O. Box 11007
                                                     Knoxville, TN 37939-1007




 Case 3:05-cv-00141        Document 15          Filed 12/11/06   Page 1 of 2     PageID #: 64
                                 CERTIFICATE OF SERVICE

        I hereby certify that on December 11, 2006, a copy of the foregoing Notice was filed
electronically. Notice of this filing will be sent by operation of the Court’s electronic filing
system to all parties indicated on the electronic filing receipt. Parties may access this filing
through the Clerk’s electronic filing system.

                                                      /s/John C. Duffy, BPR#010424




 Case 3:05-cv-00141         Document 15        Filed 12/11/06      Page 2 of 2      PageID #: 65
